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                        EXHIBIT X

    Byrdic's Request for Substantial
             Weight Review

   [Exhibit 29 to Byrdic Deposition]
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                                                 Pamela J. Byrdlc
                                               207 Rushing Wind Dr.
                                                 frmo, sc 29063
                                                 (803) 240-9314

    August 30, 2015

   Renee E. Grube
   State and Local Program Manager
   EEOC Charlotte District Office
   ~29 West Trade St. - Suite 400
   Charlotte, NC 28202



   Ref: Request for substantial weight review
        Pamela J. Byrdlc v. G&P Trucking Co., Inc.
        SHAC # 4-14-120D,S,RET
        EEOC# 14C-2015-00167



  Dear Ms. Grube:

  I am writing to you to request a substantial weight review of my file. I have enclosed a copy of the
  assessment for reference.

  I ask that you take note of the Severance agreement that G&P sent me on 12/15/2014. SHAC has this
  document. This agreement would pay me money to take away all of my rights and in turn give them the
  right to sue me, or recover costs as they worded It, If I did any of the many things mentioned In the
  agreement. I contend that they did not have just cause to terminate me and the agreement was to offer
  rQe money to not file any claims against them. Iwas terminated In retaliation for taking my question to
  HR.


   In reference to the first paragraph of the SHAC findings: My complaint was that the female salaried
  employees !n our department were required to clock In and out, and the male salaried employees are
   not required to clock In and out. The persons that I listed on the complaint were salaried, not hourly,
  and the females only were asked to clock In and out. The females that I referenced were at the time I
  asked In 2014 salaried and clocking In and out. I had been an employee for over 5 years at the point I
  was told to clock In and out, and the original question was why this was now being required. In January
  2014, Mr. Sellers stated that, I quote, "Effective Immediately, everyone Js required to clock in and our'.l
  had so1J1eone show me the process, as the phones were used to clock In and out, and ft was tracked on
  the company's Intranet website. I clocked rn and out dally as requested. It was later determined that It
  was not everyone that w~s clocking In and out, just the females, whether h9urly or salaried. When I
  asked the 3 males that I referenced on the complaint how they felt about clocking In and out, they said
  to me that they were salaried and asked w!w they would have to do that.




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                 I have given record of the f9llowlng with dates to the SHAC:

                  Mr. Sellers had not answered why it was necessary for me to clock In and out, so I asked Mr. Grubbs In
                 HR to see why this w~s b!'!lng required. After days had passed, I asked what was found, and he said that
                 Mr. Stokes (TPS Logistics) had asked that I clock In and out. I asked Mr. Stokes, and he said he absolutely
                 had not required that. So I let Mr. Grubbs know that the Information wasn't right. When the four of us
                 met concerning this, Mr. Sellers said that I wasn't going to have to worry about.clocklng In and out
                 because I no longer had access to the Intranet. This meant at that time he was Intending to terminate
                 me, because all employees h.ave access to the Intranet, and that meant I was no longer going to be
                employed. I was told In the meeting that from an HR and a payroll perspective, there was no need for
                me to clock In and out, and. I also later received an email stating the same. When I asked that besides
                myself, why the other females on salary were cloc~lng In and out, and not the males, the meeting ended
                very shortly thereafter. I believe that Mr. Sellers Intended to terminate me at that meeting due to what
                he said at the beginning of the meeting, and that Is was In retaliation for going to HR about this Issue.
                There was nothing mentioned In that meeting that It was being required because I worked for both
                companies, which Is what the attached finding states In the second paragraph. Although I did worry that
                I was going to get terminated for asking HR the question, I hoped and prayed that I was wrong. I
                contin.ued to work hard and do my job and hoped with that being resolved everything was going to worl<
                out. It Is clear that It did not work out for me.

                Also note that Idid not find out that I had a brain lesion until a few days before I was discharged. My
                supervisor did not ask me what was found while I was In the hospital, so I don't believe that a disability
                had any effect on the de~lslon to terminate me -I have not been determined to be disabled- ~utI have
                no. way of knowing If being In the hospital played a part In any of this. When I called to say that Iwas
                released from the hospital and would be returning to work the next day, !le said l was suspended and to
                not come In, and that I need to call them the following day. The next day I called and was terminated
                and they em ailed me a severance agreement. This was just a month after I asked HR If It was necessary
                for me to clock In and out.

                I have never had any discussions with the supervisor that there was any problem with my job
                performance. Iworked very hard at my job, and as you can see from my time sheet records, I worked
               long hours to make sure all of work was always complete .and accurate. In fact, I sat down with the
               president of the company, Mr. Parker, and asked about my future with G&P months before this
               happened. The owners ofTPS Logistics were scaling down for retirement in the near future, and since
               they paid part of my salary, I was concerned. Mr. Parker told me that with my experience and
               knowleqge they certainly would want to keep me at G&P. I was relieved, as I have been working In the
               trucking Industry since 1987, I loved my career and I loved working in the trucking Industry, and I could
               see no reason notto continue at G&P until retirement.

               I have never received an evaluation that stated my job performance was poor. Evaluations are supposed
               to be done with your supervisor on a yearly basis, and a copy showing the employee and supervisor's
               signature should be In the personnel file. ·


              In reference to the second paragraph: As I stated above, there was no mention In our meeting that Iwas
              required to clock In an~ out beca~se of the financial relationship between G&P and TPS. Mr. Grubbs
              and Mr. Sellers with G&P, and Mr. Stokes with TPS were all in the meeting. No mention at all that the
--- ------·--·reason-was·the·one stated·ln-the-attached-assessment.- - - -·---·-------- ----·--·--·- - --··· --·-- __.....


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•   I




        The work that I did for TPS took apprpxlmately 30 minutes each day, and all of the overtime that I
        worked was strictly for G&P. There was never any concern mentioned that my time was not spent
        appropriately. They said there was NO reason for me to be required to clock In and out, they d!d not
        give t~e reason that Is stated In the attached assessment. The working and flnanclal relationship had
        been the same since November 2008. It was January 2014, over 5 years later, when Mr. Sellers stated
        that everyone was required to clock In and O!Jt, he did not say that everyone who also worked for TPS
        was now required to. I asked many times from March through October 2014 and Mr. Sellers never
        replied. lt Is only after I asked HR and was terminated that this answer was given to the SHAC.

        Finally, In reference to the last sentence: I have never left work without notifying a supervisor.


        Thank you for reviewing this and helping me In this most upsetting matter. I do not see the "facts''
        presented by G&P In the content of the assessment from SHAC as being truthful, and these are not the
        facts that Isubmitted and warranted an Investigation. If you should need any further Information,
        please call me at 803-240-9314.




                                                   BYRDIC-000022
